        Case 5:10-cr-50118-JLV                        Document 486        Filed 09/27/11                 Page 1 of 5 PageID #: 1163
'b.AO 245B (Rev. 12/03) Judgment in a Criminal Case

=====sh=ee=t=I================================~=====
                                         UNITED STATES DISTRICT COURT
                                                                                                                         EP 27 2011
                                              District of South Dakota, Western Division                             ~

        UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL C                          E
                                                                                                                                 CLERK
                              VS.
                                                                        Case Number: 5:IOCR50118-12
                    AARON DILLON
                                                                        USM Number: 11219-273


                                                                        Greg J. Sperlich
                                                                        Defendant's Attorney
THE DEFENDANT:
•     pleaded guilty to Count 14 of the Superseding Indictment
o     pleaded nolo contendere to count(s) which was accepted by the court.

o     was found guilty on count(s) after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                     Nature of Offense                                                        Offense Ended      Count
21 U.S.c. §§ 843(b) and             Use ofa Communication Facility in Causing or Facilitating the            6/9/2010           14s
843(d)(I)                           Commission of a Felony Under the Controlled Substance Act




The defendant is sentenced as provided in this judgment. The sentence is imposed pursuant the statutory and constitutional authority vested
in this court.

o     The defendant has been found not guilty on count(s)

•     Count(s) I as it relates to the defendant           • is     o are dismissed on the motion of the United States.
IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments tmposed by this judgment are fully patd. If ordered to pay restitution,
the defendant must notify the court and United States attorney of any matenal changes in economic circumstances.



                                                                        09/26/2011
                                                                        Date of Imposition of Judgment



                                                             <==>~~~---
                                                                        Jeffrey L. Viken, United States District Judge
                                                                        Name and Title of Judge
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I   AO 245B      (Rev. 12/03) Judgment in a Criminal Case
                 Sheet 4-Probation
                                                                                                                              Judgment- Page _2_ of_5_
    DEFENDANT:              AARON DILLON
    CASE NUMBER:            5:lOCR50118-12

                                                                      PROBATION

    The defendant is hereby sentenced to probation for a tenn of: 3 years




    The defendant shall not commit another federal. state, local, or tribal crime.

    The defendant shall not unlawfully possess a controlled substance. The defendant shaH refrain from any unlawful use of a controlled substance.
    The defendan.t shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests thereafter, as detennined
    by the probatIOn office.

    o         The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of future
              substance abuse. (Check, if applicable.)

    •         The defendant shall not possess a fireann, destructive device, or any other dangerous weapon. (Check, if applicable.)

    •         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
              The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
    o         student, as directed by the probation officer. (Check, if applicable.)
    o         The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

              If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
              Payments sheet oftbis judgment.

              The defendant must comply with the standard conditions that have been adopted by this courtas well as with any additional conditions
              on the attached page.


                                                     STANDARD CONDITIONS OF SUPERVISION

         I)   the defendant shall not leave the judicial district without the pennission of the court or probation officer;
        2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the fust five days of
              each month;
        3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
        4)    the defendant shall support his or her dependents and meet other family responsibilities;
        5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
              acceptable reasons;
        6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
        7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
              substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
         8)   the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
         9)   the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
              felony, unless granted pennission to do so by the probation officer;
        10)   the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any
              contraband observed in plain view of the probation officer;
        11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
        12)   the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the
              pennission of the court;
        13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
              criminal record or personal history or characteristics and shaH pennlt the probation officer to make such notifications and to
              confinn the defendant's compliance with such notification requirement.
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AO 245B     (Rev. 12/03) Judgment in a Criminal Case
            Sheet 4C - Probation
                                                                                                      Judgment - Page _3_ of_5_
DEFENDANT:              AARON DILLON
CASE NUMBER:            5:10CRSOl18-12

                                                  SPECIAL CONDITIONS OF SUPERVISION


1.        The defendant shall be placed in home confinement for a period of 1 month, to commence immediately. The
          defendant shall comply with the provisions of the Home Confinement Participant Agreement used in the
          District of South Dakota. The defendant shall pay for any costs incurred with electronic monitoring and home
          confinement.
2.        The defendant shall undergo inpatient/outpatient psychiatric or psychological treatment, as directed by the
          probation office and take any prescription medication as deemed necessary by his treatment provider.
3.        The defendant shall participate in a program approved by and at the direction of the probation office for
          treatment of substance abuse, which shall include testing to determine if he has reverted to the use of illegal
          drugs.
4.        The defendant shall submit to a warrantless search of his person, residence, place of business, or vehicle, at
          the discretion of the probation office.
5.        The defendant shall submit a sample of his blood, breath, or urine at the discretion or upon the request of the
          probation office.
6.        While under supervision in the District of South Dakota, the defendant shall participate in the DROPS
          program as directed by the probation office.
7.        The defendant shall reside and participate in a residential reentry center as directed by the probation office.
          The defendant shall be classified as a prerelease case.
8.        The defendant shall participate in and complete a cognitive behavioral training program as directed by the
          probation office.
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AD 245B      (Rev. 12/03) Judgment in a Criminal Case
             Sheet 5 - Criminal Monetary Penalties
                                                                                                                              Judgment - Page _4_ of_5_
DEFENDANT:               AARON DILLON
CASE NUMBER:             5: 1OCRS0118-12
                                                        CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.

                         Assessment                                     Fine                                    Restitution
TOTALS               $ 100.00                                       $   Waived                              $


D         The determination of restitution is deferred until.
          An Amended Judgment in a Criminal Case (AO 245C) will be entered after such determination.

D         The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
          in the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664(i), all nonfederal VictimS must be paid
          before the United States is paid.

                                                                                                                                       Priority Or
Name of Payee                                                                    Total Loss*            Restitution Ordered            Percentage




TOTALS                                                                   $
                                                                             -------$-------
D     Restitution amount ordered pursuant to plea agreement $

D     The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
      subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D      The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

       D       the interest requirement is waived for the           D fine             D restitution.

       D       the interest requirement for the            D fine            D    restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 11 OA, and 113A of Title 18 for offenses committed on or after
September 13, 1994 but before April 23, 1996.
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AO 245B     (Rev. 12/03) Judgment in a Criminal Case
            Sheet 6 - Schedule of Payments
                                                                                                                                  Judgment - Page _5_ of_5_
DEFENDANT:                 AARON DILLON
CASE NUMBER:               5: 10CRSO 118-12


                                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A
       •      Lump sum payment of$ ..:..10.::..0::..:.~O.::..O          due immediately.

              D       not later                      , or
              D       in accordance---------=------=
                                       D C,  D D,  D E, or                                 D    F below); or

B      D      Payment to begin immediately (may be combined with                    D      C,     D D,         D   F below); or

C      D      Payment in equal30eekl~ (e.g., weekly, monthly, CJ.uarterly) installments of $ over a period of (e.g., months or years), to
              commence (e.g.,    or 0 days) after the date of thIs judgment; or

D      D      Payment in equal30eek~O (e.g., weekl Y monthly, or quarterly) installments of $ over a period of (e.g., months or years), to
              commence (e.g.,    or   days) after re j ease from imprisonment to a term of supervision; or

E      D      Payment of the criminal monetary penalties shall be due in regular quarterly installments of of the deposits in the defendant's
              inmate trust account while the defendant is in custody. Any portion of the monetary obligation(s) not paid in full prior to the
              defendant's release from custody shall be due in monthly installments of, such payments to begin, days following the
              defendant's release; or

F      D      Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cnmina1 monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to tne clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


D      Joint and Several

       Defendant and Co-Defendant Names and Case Number (including defendant number), Total Amount, Joint and Several Amount, and
       corresponding payee, if appropriate.




D      The defendant shall pay the cost of prosecution.

D      The defendant shall pay the following court cost(s):

D      The defendant shall forfeit the defendant's interest in the following property to the United States:

PaYJ!1ents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs
